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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )     Case No. 23-11069 (CTG)
                                                                  )
                             Debtors.                             )     (Jointly Administered)
                                                                  )
                                                                  )     Re: Docket No. 394

 CERTIFICATION OF COUNSEL REGARDING OMNIBUS MOTION OF DEBTORS
SEEKING ENTRY OF AN ORDER (I) AUTHORIZING (A) REJECTION OF CERTAIN
EXECUTORY CONTRACTS AND UNEXPIRED LEASES EFFECTIVE AS OF DATES
    SPECIFIED HEREIN AND (B) ABANDONMENT OF CERTAIN PERSONAL
        PROPERTY, IF ANY, AND (II) GRANTING RELATED RELIEF

         The undersigned hereby certifies that:

         1.      On August 31, 2023, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed the Omnibus Motion of Debtors Seeking Entry of an Order (I)

Authorizing (A) Rejection of Certain Executory Contracts and Unexpired Leases Effective as of

Dates Specified Herein and (B) Abandonment of Certain Personal Property, If Any, and ((II)

Granting Related Relief (the “Motion”) [Docket No. 394].

         2.      The deadline to respond to the Motion was on September 8, 2023 at 4:00 p.m.

Eastern Time (the “Objection Deadline”).

         3.      The Debtors received informal comments from (a) the Office of the United States

Trustee and (b) Schneider, and a filed objection from (c) East West Bank [Docket No. 430] (the

“Responding Parties”).




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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.



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        4.       The Debtors circulated a revised proposal form of order to the Responding Parties

and the following parties: counsel to the Official Committee of Unsecured Creditors, the Junior

DIP Lender, the B-2 Lenders, the ABL Agent, the United States Department of the Treasury, and

the UST Tranche A Agent and UST Tranche B Agent (collectively, with the Responding Parties,

the “Reviewing Parties”).

        5.       Attached hereto as Exhibit A is a revised proposed form of order (the “Revised

Proposed Order”) that has been circulated to the Reviewing Parties, which do not object to entry

of the Revised Proposed Order. Attached hereto as Exhibit B is a redline of the Revised

Proposed Order showing changes against the order filed with the Motion.

        6.       Accordingly, the Debtors respectfully request entry of the Revised Proposed

Order at the Court’s earliest convenience.




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Dated: September 13, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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